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              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                Scott S. Harris
                                                                Clerk of the Court
                                                                (202) 479-3011
                                 July 2, 2024


Clerk
United States Court of Appeals for the Second
Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


      Re: Ivan Antonyuk, et al.
          v. Steven G. James, In His Official Capacity as Acting
          Superintendent of New York State Police, et al.
          No. 23-910
          (Your No. 22-2908, 22-2972, 22-2933, 22-2987, 22-3237)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is granted. The judgment is
vacated, and the case is remanded to the United States Court of Appeals for
the Second Circuit for further consideration in light of United States v.
Rahimi, 602 U. S. ___ (2024).

       The judgment or mandate of this Court will not issue for at least
thirty-two days pursuant to Rule 45. Should a petition for rehearing be filed
timely, the judgment or mandate will be further stayed pending this Court's
action on the petition for rehearing.


                                       Sincerely,




                                       Scott S. Harris, Clerk
